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                                     IN THE UNITED STATES DISTRICT COURT
                                      FOR THE SOUTHERN DISTRICT OF OHIO
                                              WESTERN DIVISION
                     ___________________________
                     UNITED STATES OF AMERICA,                )CASE NO.: 3:18-cr-186
                                                              )
                               Plaintiff,                     )(Judge Thomas M. Rose)
                                                 -vs-         )
                     BRIAN HIGGINS,                           )
                               Defendant.                     )
                     ___________________________)
                                  TRANSCRIPT OF PROCEEDINGS
                             BEFORE THE HONORABLE THOMAS M. ROSE
                           UNITED STATES DISTRICT JUDGE, PRESIDING
                                    TUESDAY, JULY 14, 2020
                                          DAYTON, OH
                     APPEARANCES:

                     For the Plaintiff:                    MR. BRENT G. TABACCHI, ESQ.
                                                           U.S. Attorney's Office
                                                           200 W. Second Street,
                                                           Room 602
                                                           Dayton, Ohio 45402

                     For the Defendant:                    MS. TAMARA S. SACK, ESQ.
                                                           130 West Second Street,
                                                           Suite 310
                                                           Dayton, Ohio 45402

                          Proceedings recorded by mechanical
                     stenography, transcript produced by computer.
                                                  Jamie S. Hurley
                                                   Court Reporter
                                               Britton & Associates
                                           201 Riverside Drive, Suite 2B
                                                 Dayton, Ohio 45405
                                                  *** *** *** ***



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             1                 P-R-O-C-E-E-D-I-N-G-S                                 2:47 P.M.
             2                                         THE COURT:    We're before the Court
             3       this afternoon, the matter of United States of
             4       America versus Brian Higgins.                     This is Case Number
             5       3:18-cr-186 and we're here pursuant to a motion to
             6       continue that was filed by Mr. Higgins through
             7       counsel, Ms. Sack, requesting that the trial now
             8       scheduled to commence on July the 27th, 2020 be
             9       continued.              Counsel enter their appearance for the
           10        record, please.
           11                                          MR. TABACCHI:   Good afternoon,
           12        Your Honor.               Brent Tabacchi on the behalf of the
           13        United States.
           14                                          MS. SACK:    Good afternoon, Your
           15        Honor.          Tamara Sack on behalf of Brian Higgins.
           16                                          THE COURT:   All right.   And, Ms.
           17        Sack, this is your motion.                     Do you wish to
           18        supplement?
           19                                          MS. SACK:    Your Honor, at issue is
           20        that I recently came onboard to serve as
           21        Mr. Higgins' counsel.                    I believe my appointment was
           22        the end of April.                     At issue is I received a bulk of
           23        discovery concerning hundreds of pages of bank
           24        records.            I've been able to get through some of
           25        them but it is necessary to fully understand any


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             1       forensic accounting associated with those records
             2       and, indeed, the records of Mr. Higgins.                       Your
             3       Honor, as well Mr. Higgins and I have been meeting
             4       regularly and in earnest.                      I'm sure he can attest
             5       to that.            We are working earnestly to prepare for
             6       trial and the time is needed, is necessary to
             7       afford Mr. Higgins a full and fair trial and I
             8       discussed this with him and he agreed for me to ask
             9       for this continuance and he has signed this
           10        continuance as well.
           11                                          THE COURT:    All right.   And you
           12        believe he understands the fact that any time from
           13        now until the new trial date, from the date of the
           14        motion until the new trial date is waived; is that
           15        correct?
           16                                          MS. SACK:    Yes, Your Honor.
           17                                          THE COURT:    All right.   How about
           18        that Mr. Higgins; do you understand all this?
           19                                          THE DEFENDANT:    I do, Your Honor.
           20        I have a brief statement I would like to make to
           21        the --
           22                                          THE COURT:    Does it have to do
           23        with the continuance?
           24                                          THE DEFENDANT:    It does.
           25                                          THE COURT:    Okay.


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             1                                         THE DEFENDANT:   It does.
             2                                         THE COURT:   Do you, I mean, are
             3       you in agreement with the motion to continue?
             4                                         THE DEFENDANT:   I am agreeing with
             5       the motion to continue; however, I'd like to
             6       address The Court.
             7                                         THE COURT:   About what?
             8                                         THE DEFENDANT:   Well --
             9                                         THE COURT:   I'm just trying to
           10        protect you, Mr. Higgins.                  Basically we're here for
           11        a very narrow thing.                  We're here for a narrow issue
           12        of whether or not the Court grants a motion to
           13        continue the trial.
           14                                          THE DEFENDANT:   Understood.
           15        Understood.
           16                                          THE COURT:   All right.
           17                                          THE DEFENDANT:   However, my
           18        counsel and I had a conversation which I was
           19        assured that I would be able to address the Court.
           20                                          THE COURT:   With regard to the
           21        motion to continue?
           22                                          THE DEFENDANT:   With regard to --
           23                                          THE COURT:   Well, no one agrees to
           24        what I hear.
           25                                          THE DEFENDANT:   Understood.


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             1       Understood.
             2                                         THE COURT:   All right.
             3                                         THE DEFENDANT:   With that being
             4       said, Your Honor.                     I cannot move forward with the
             5       continuance.
             6                                         THE COURT:   What does that mean?
             7                                         THE DEFENDANT:   I will not waive
             8       my right to a continuance.
             9                                         THE COURT:   What do you want to
           10        say about the continuance?
           11                                          THE DEFENDANT:   I don't know.
           12        Maybe, Ms. Sack, do you want to address, I thought
           13        this was already, I thought we had a --
           14                                          (Counsel conferring with
           15        Defendant.)
           16                                          THE COURT:   I'll tell you what,
           17        hold on, Ms. Sack.
           18                                          MS. SACK:    Okay.
           19                                          THE COURT:   Mr. Higgins, Ms. Sack
           20        has indicated that I would hear what you had to
           21        say?
           22                                          THE DEFENDANT:   That is correct,
           23        Your Honor.
           24                                          THE COURT:   All right.   Go ahead.
           25                                          THE DEFENDANT:   Thank you for the


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             1       opportunity to address this Court, by the way.                     For
             2       the past 412 days I have had the weight of the
             3       Government on my neck.                   For the past 412 days I
             4       have been included in what the Government has
             5       called Operation Demolished Integrity, a Dragnet
             6       Operation led by a questionable confidential
             7       informant in which I have been publicly tarred and
             8       feathered.
             9                                         While my case involves a ruptured
           10        fish tank, I always took the precautionary measures
           11        to engage that I did not engage in any illegal acts
           12        in completing the repairs.                  In fact, I sought out
           13        legal advice from my previous counsel on how not to
           14        err.        The mistake I made was allowing Mr. Marshall
           15        and United Demolition to enter my home, a case that
           16        I'm currently litigating in Montgomery County
           17        Common Pleas Court.                   For the past ten years I have
           18        dedicated my life to exposing public corruption
           19        having spent hundreds of thousands of dollars
           20        unearthing what may go down as one of the largest
           21        public corruption schemes in modern times.                  The
           22        crimes that I have unearthed are very disturbing
           23        and monumental in size and scope.                  The vile crimes
           24        include a convicted child sexual predator who is
           25        the ring leader of an international ghosting scheme


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             1       using the identity of the deceased for things to
             2       include passport, medical cards on the black
             3       market, just to name a few.
             4                                         In addition, I have unearthed a
             5       multi-billion dollar procurement scheme on a
             6       federally funded program that is being carried out
             7       by numerous elected officials.                   Seeing no
             8       alternative, I went to the local FBI Resident
             9       Office three weeks prior to my indictment in which
           10        I was interviewed by a local field agent.                    After
           11        several conversations I was asked to meet again at
           12        the local field office to turnover 3,000 pages of
           13        evidence of the crimes that I had unearthed.
           14                                          This meeting was confirmed and to
           15        take place at the Clyo Road location with members
           16        of the Chicago Field Office.                  Upon my arrival at
           17        07:30 hours on April 30th, 2019 I was arrested and
           18        shackled on the charges that are before this Court.
           19        Since my April 30th, 2019 arrest, the Government
           20        requested yet another meeting.                  On January 21st,
           21        2020 I was asked to wear a wire on the ring leader,
           22        I declined, as well as to testify against a
           23        powerful elected official in Chicago, which I
           24        agreed to.
           25                                          I was informed by the prosecutor


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             1       that agents from the Chicago Field Office would,
             2       once again, be scheduling an interview with me and
             3       my counsel within two weeks.                     To date there has
             4       been no meeting.                      In fact, it's obvious that the
             5       Government is in on the above-mentioned crimes.                         To
             6       date the White House as well as the Attorney
             7       General, Christopher Wray, and my senator, Sherrod
             8       Brown, have been put on notice and are monitoring
             9       the case before this Court.
           10                                          I humbly respect this Court and
           11        the process in which I am bound.                     After careful
           12        consideration and conferring with my counsel, I
           13        agree to waive my Sixth Amendment right for yet a
           14        fourth time.                I pray that if the United States of
           15        America proves my guilt beyond a reasonable doubt
           16        and a preponderance of the evidence, this Court
           17        sentence me to the maximum allowed by law.                     Thank
           18        you, Your Honor.                      I rest.
           19                                          THE COURT:    All right.   Thank you.
           20        So, Mr. Higgins, you do understand the waiver of
           21        the speedy trial rights and you are consenting to
           22        it; is that correct?
           23                                          THE DEFENDANT:    I am, Your Honor.
           24                                          THE COURT:    All right.
           25        Understanding that, I believe that we're looking at


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             1       a trial date somewhere towards the end of the year;
             2       do you understand that?
             3                                         THE DEFENDANT:   I do, Your Honor.
             4                                         THE COURT:   All right.   Thank you.
             5       Any objection from the Government?
             6                                         MR. TABACCHI:    No objection to the
             7       continuance.
             8                                         THE COURT:   All right.   Well, the
             9       Court does find based upon the presentation of
           10        counsel with regard and the motion to continue this
           11        before the court that the discovery in this case,
           12        well, first, that counsel has just recently been
           13        brought on the case or within the recent past that
           14        discovery in this case is extensive, detailed,
           15        somewhat complex, and that additional time is
           16        necessary for counsel and the Defendant to examine
           17        those records in discovery and to prepare for
           18        trial.
           19                                          The Court further finds that
           20        failure to grant a continuance as prayed for by
           21        Mr. Higgins would result in a miscarriage of
           22        justice and would deny Mr. Higgins as well as Ms.
           23        Sack on his behalf the necessary time to prepare
           24        for trial.              So, therefore, the Court finds that
           25        within the factual and legal confines of this case,


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             1       the ends of justice in granting this continuance as
             2       prayed for by the Defendant and consented to by all
             3       parties outweigh the best interest of the public
             4       and the Defendant in the speedy trial.
             5                                         So, therefore, the Court does find
             6       the motion well founded.                      The Court is going to
             7       continue the matter from the previously scheduled
             8       trial date of Monday, July the 27th, 2020 until
             9       Monday, November the 2nd, 2020 at 9 o'clock.                        We
           10        will be conducting a final pretrial conference then
           11        on October the 15th, 2020 at 2:30.                      Anything
           12        further to come before the court, Ms. Sack?
           13                                          MS. SACK:    No.   Thank you, Your
           14        Honor.
           15                                          THE COURT:    Mr. Tabacchi?
           16                                          MR. TABACCHI:      No, Your Honor.
           17                                          THE COURT:    Do you understand
           18        everything, Mr. Higgins?
           19                                          THE DEFENDANT:     I do, Your Honor.
           20                                          THE COURT:    All right.   Thank you
           21        very much.
           22                                          THE COURTROOM DEPUTY:      All rise.
           23        This court stands in recess.
           24                                          (Proceedings concluded at 2:56
           25        p.m.)


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             1                                     C E R T I F I C A T E
             2
             3                                   I, Jamie S. Hurley, a Court Reporter
             4       and Notary Public do hereby certify that the
             5       foregoing is a full, true and correct transcript of
             6       my notes taken in the above-styled case and
             7       thereafter transcribed by me.
             8
             9
           10
                                                            _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
           11                                              Jamie S. Hurley
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